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14
                          CENTRAL DISTRICT OF CALIFORNIA
15                               EASTERN DIVISION
16                                            ) No. EDCV 5:21-cv-00006-JEM
     JUAN LEMOS,
17                                            )
           Plaintiff,                         ) [PROPOSED]
                                                 XXXXXXXX
18                                            )
                  v.                          ) JUDGMENT OF REMAND
19                                            )
                                              )
20   KILOLO KIJAKAZI, Acting                  )
                                              )
     Commissioner of Social Security,         )
21                                            )
22         Defendant.                         )

23
           The Court having approved the parties’ Stipulation to Voluntary Remand
24
     Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
25
     (“Stipulation of Remand”) lodged concurrent with the lodging of the within Judgment
26
     of Remand,
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1          IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
2    captioned action is remanded to the Commissioner of Social Security for further
3    proceedings consistent with the Stipulation of Remand.
4
     DATED:     12/7/2021
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                                           HON. JOHN E. McDERMOTT
6                                          UNITED STATES MAGISTRATE JUDGE
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